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 5
   Attorneys for Plaintiff
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   [Additional counsel on signature page]
 7
                              UNITED STATES DISTRICT COURT
 8
                           NORTHERN DISTRICT OF CALIFORNIA
 9

10 PAUL PARSHALL, Individually and On                  Case No. 5:18-cv-01671
   Behalf of All Others Similarly Situated,
11                                                     PLAINTIFF’S NOTICE OF
                         Plaintiff,                    VOLUNTARY DISMISSAL WITHOUT
12                                                     PREJUDICE
          v.
13
   UNITED AMERICAN BANK, NICHOLAS J.
14 SCHRUP, III, JOHN C. SCHRUP, NORMAN
   I. BOOK, JR., JAY PAUL LEUPP, DENNIS C.
15 DISALVO, MARGARET A. TAYLOR,
   WILLIAM W. HILL, STEPHEN A. WAY,
16 GUY ROUNSAVILLE, JR., HOWARD J.
   WEILAND, ROSANNE FOUST, RONALD L.
17 BLAND, HERITAGE COMMERCE CORP,
   and HERITAGE BANK OF COMMERCE,
18
                         Defendants.
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20         PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), plaintiff hereby

21 voluntarily dismisses the above-captioned action (the “Action”) without prejudice. Defendants

22 have filed neither an answer nor a motion for summary judgment in the Action.

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                       PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL
 1 Dated: May 8, 2018                  RIGRODSKY & LONG, P.A.
 2                                 By: /s/ Michael Schumacher
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                                       Attorneys for Plaintiff
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                    PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL
